          Case:1:20-cv-00184-DCN
          Case  20-35813, 01/30/2023, ID: 12641754,
                                   Document         DktEntry:
                                              114 Filed       190, Page
                                                        01/30/23   Page 11 of
                                                                           of 77




                             NOT FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                        JAN 30 2023
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

LINDSAY HECOX; JANE DOE, with her                 No.    20-35813
next friends Jean Doe and John Doe,
                                                  D.C. No. 1:20-cv-00184-DCN
                  Plaintiffs-Appellees,

 v.                                               MEMORANDUM*

BRADLEY LITTLE, in his official capacity
as Governor of the State of Idaho; et al.,

                  Defendants-Appellants,

and

MADISON KENYON; MARY
MARSHALL,

                  Intervenors.


LINDSAY HECOX; JANE DOE, with her                 No.    20-35815
next friends Jean Doe and John Doe,

                  Plaintiffs-Appellees,           D.C. No. 1:20-cv-00184-DCN

 v.

BRADLEY LITTLE, in his official capacity
as Governor of the State of Idaho; et al.,


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
       Case:1:20-cv-00184-DCN
       Case  20-35813, 01/30/2023, ID: 12641754,
                                Document         DktEntry:
                                           114 Filed       190, Page
                                                     01/30/23   Page 22 of
                                                                        of 77




                Defendants,

and

MADISON KENYON; MARY
MARSHALL,

                Intervenors-Appellants.

                  Appeal from the United States District Court
                            for the District of Idaho
                  David C. Nye, Chief District Judge, Presiding

                    Argued and Submitted November 22, 2022
                            San Francisco, California

Before: KLEINFELD, WARDLAW, and GOULD, Circuit Judges.

      Intervenors-Appellants (Intervenors) appeal from the district court’s order

determining that Lindsay Hecox’s (Hecox) constitutional challenge to Idaho’s

Fairness in Women’s Sports Act, Idaho Code §§ 33-6201⁠–06 (the “Act”), is not

moot. “A district court's mootness determination is reviewed de novo, while the

underlying factual determinations are reviewed for clear error.” Nat. Res. Def.

Council v. Cnty. of Los Angeles, 840 F.3d 1098, 1102 (9th Cir. 2016). We have

jurisdiction under 28 U.S.C. § 1292, and we affirm.

      1.    Hecox’s challenge to the constitutionality of the Act is not moot and

has not been mooted by events occurring during the course of this litigation. The

district court enjoined enforcement of the Act on August 17, 2020, holding that

Hecox was likely to succeed in her claim that the Act, which precludes transgender


                                          2
        Case:1:20-cv-00184-DCN
        Case  20-35813, 01/30/2023, ID: 12641754,
                                 Document         DktEntry:
                                            114 Filed       190, Page
                                                      01/30/23   Page 33 of
                                                                         of 77




women from participating in any women’s sports sponsored by a public school,

violates the Equal Protection Clause of the U.S. Constitution. During the pendency

of this appeal, Hecox informed us that she had withdrawn from her sophomore

year classes at Boise State University (BSU) in late October 2020. Because the

parties’ arguments raised several unanswered factual questions regarding

mootness, we remanded to the district court for further factual development and

findings on the question of mootness on June 24, 2021.

      “Consistent with the dictates of the Supreme Court, we approach mootness

cautiously and with care to ensure that the party claiming the benefit of mootness

. . . has carried its burden of establishing that the claim is moot.” United States v.

Larson, 302 F.3d 1016, 1020 (9th Cir. 2002). Because “[i]t is no small matter to

deprive a litigant of the rewards of its efforts,” dismissing a case for mootness is

“justified only if it [is] absolutely clear that the litigant no longer ha[s] any need of

the judicial protection” it seeks. Adarand Constructors, Inc. v. Slater, 528 U.S.

216, 224 (2000) (per curiam) (emphasis added). The Supreme Court and the Ninth

Circuit have held that an intent to resume a stated activity can be sufficient to

demonstrate a live controversy. See City of Erie v. Pap’s A.M., 529 U.S. 277, 287

(2000); Clark v. City of Lakewood, 259 F.3d 996, 1006, 1011–12 (9th Cir. 2001),

as amended (Aug. 15, 2001); S. Oregon Barter Fair v. Jackson Cnty., 372 F.3d

1128, 1133–34 (9th Cir. 2004).


                                            3
       Case:1:20-cv-00184-DCN
       Case  20-35813, 01/30/2023, ID: 12641754,
                                Document         DktEntry:
                                           114 Filed       190, Page
                                                     01/30/23   Page 44 of
                                                                        of 77




      Intervenors contend that the district court improperly relied on “subsequent

facts” that developed after October 2020 to determine that Hecox’s claims were

not moot. However, as the district court found, Hecox’s claim was not moot when

she withdrew from BSU in October 2020, because she expressed a concrete plan to

re-enroll after establishing Idaho state residency and try out for the track and cross-

country teams, and the withdrawal did not act as a barrier to reenrollment. Even

when Hecox withdrew, for example, she had a conversation with a BSU academic

advisor and left school before the October 30, 2020 deadline, in order to preserve

her ability to re-enroll in good standing. Moreover, evaluating mootness requires

that courts consider events subsequent to the filing of a complaint to determine

how “circumstances have changed.” Clark, 259 F.3d at 1011; see also S.F.

BayKeeper, Inc. v. Tosco, 309 F.3d 1153, 1160 (9th Cir. 2002). Not only did

Hecox demonstrate a concrete plan to re-enroll and try out for women’s sports, but

she followed through on those plans by establishing state residency, re-enrolling at

BSU with significant savings for tuition and other expenses, and training to

participate in women’s sports teams. Indeed, Hecox began playing on the BSU

women’s club soccer team in Fall 2022, from which the Act categorically bars her

absent the extant preliminary injunction. See Idaho Code § 33-6203(1).

      Alternatively, Intervenors argue that Hecox’s claim is moot because she is

unlikely to complete the course hours to meet National Collegiate Athletic


                                           4
       Case:1:20-cv-00184-DCN
       Case  20-35813, 01/30/2023, ID: 12641754,
                                Document         DktEntry:
                                           114 Filed       190, Page
                                                     01/30/23   Page 55 of
                                                                        of 77




Association (NCAA) eligibility requirements to participate in the BSU track and

cross-country teams. However, even if Hecox fails to complete the NCAA course

hour requirements, she may obtain a waiver of eligibility from BSU and the NCAA

if she tries out and makes the women’s track and cross-country teams in Fall 2023.

And, regardless of NCAA eligibility, the Act bars her from even trying out for the

BSU women’s cross-country and track teams, again, absent the injunction. In

issuing the preliminary injunction, the district court reasoned that the Act

categorically barred Hecox from trying out for any BSU women’s sports team,

even if her try-out was unsuccessful, and that was likely an equal protection

violation. Hecox v. Little, 479 F. Supp. 3d 930, 959–66 (D. Idaho 2020). And the

Supreme Court has held that an “injury in fact” for Article III purposes can arise

from a barrier to participation, even if the participant does not ultimately benefit

from that participation. See Ne. Florida Chapter of Associated Gen. Contractors

of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993).

      While Hecox did not try out for the women’s cross-country and track teams

in Fall 2022, due to illness and her father’s passing last spring, she has declared

that she has concrete plans to try out for the track and cross-country teams in Fall

2023.1 Regardless, Hecox cannot continue participating in the women’s club


1
 Hecox filed a motion to supplement the record on appeal with a declaration (Dkt.
164). “Save in unusual circumstances, we consider only the district court record
on appeal.” Lowry v. Barnhart, 329 F.3d 1019, 1024 (9th Cir. 2003). However,

                                           5
       Case:1:20-cv-00184-DCN
       Case  20-35813, 01/30/2023, ID: 12641754,
                                Document         DktEntry:
                                           114 Filed       190, Page
                                                     01/30/23   Page 66 of
                                                                        of 77




soccer team on which she is currently a member absent the preliminary injunction,

and her complaint broadly asserted her interest in playing on any sports team, not

just cross-country and track. Therefore, her claims are not moot.2

      2.     Hecox has Article III standing to sue. “Article III demands that an

actual controversy persist throughout all stages of litigation.” West Virginia v.

EPA, 142 S. Ct. 2587, 2606 (2022) (quoting Hollingsworth v. Perry, 570 U.S. 693,

705 (2013)). It has been established that “standing is measured at the time of the

complaint.” Arizona v. Yellen, 34 F.4th 841, 849 (9th Cir. 2022). At the time the

complaint was filed, Hecox had not yet tried out for the BSU women’s track and

cross-country teams in Fall 2020, because the Act categorically barred her from

doing so.

      The district court’s determination that this case continues to present a live

controversy is affirmed.



“[c]onsideration of new facts may even be mandatory. . . when developments
render a controversy moot and thus divest us of jurisdiction.” Id. As the facts in
Hecox’s declaration bear directly on the question of mootness, we grant her motion
to supplement the record on appeal.
2
  Intervenors additionally argue that the district court “inappropriately saddled
Defendants with the burden of producing more evidence.” However, the district
court found that even if Hecox had the burden of production, she had met that
burden. Moreover, the party asserting the benefits of mootness bears the burden of
establishing mootness. See Nw. Env't Def. Ctr. v. Gordon, 849 F.2d 1241, 1244
(9th Cir. 1988). Intervenors fail to identify any authority differentiating the burden
of production from the burden of persuasion in mootness, or how that difference
would have any bearing on the ultimate mootness determination here.

                                          6
Case:1:20-cv-00184-DCN
Case  20-35813, 01/30/2023, ID: 12641754,
                         Document         DktEntry:
                                    114 Filed       190, Page
                                              01/30/23   Page 77 of
                                                                 of 77




AFFIRMED.




                                  7
